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AO (Rev. 5/85) Criminal Complaint

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA

PENSACOLA DIVISION
UNITED STATES OF AMERICA SEALED
CRIMINAL COMPLAINT
vs. x
CASE NUMBER: “38S. ts
ANNA SHAULOVA CZERWIEN,

a/k/a Anna Czerwein,
a/k/a Anna Czerwin,
a/k/a Anna Shaulova,
a/k/a Aykhali Shaulova,

ALEKSANDER V. BERMAN,

alk/a Aleksandr Berman,

alk/a Viadimir Berman,

alkia Alex Berman,
and JUSTIN ERIC KING

|, the undersigned complainant, being duly sworn, state the following is true and

correct to the best of my knowledge and belief. On or about January 1, 2003, through
August 17, 2007, in Okaloosa, Walton, Leon, and Bay Counties, in the Northern District
of Florida, the defendants did knowingly conspire to encourage illegal entry and
residence in the United States, in violation of Title 8, United States Code, Sections
1324(a)(1)(A)(iv) and (a)(1)(A)(v)(1), and did knowingly conspiracy to commit visa fraud,
in violation of Title 18, United States Code, Sections 371 and 1546(a). | further state
that | am a Special Agent with the Diplomatic Security Service of the United States

' Department of State, and that this Complaint is based on the following facts:

SEE ATTACHED AFFIDAVIT

: (Date)
BWHERN DISTRICT OF FLORIDA
ma GISTRATE JUDGE
Case 3:07-cr-00114-LC Document1 Filed 08/17/07 Page 2 of 2

Continued on the attached sheet and made a part hereof: & D, No

Signafyre of Complainant
Clyaé Parsons, SA DSS

 

Sworn to before me and subscribed in my presence,
August 17, 2007 at Pensacola, Florida

broth Jt
ELIZABETH M. TIMOTHY 0
U.S. Magistrate Judge

 

The affidavit in support of this complaint is sealed pending further order of
this Court, except a copy of the affidavit may be provided to the named defendant.

Loryetrette. MA (Pm _

Signatufe of Judicial Officer

ELIZABETH M. TIMOTHY
U.S. Magistrate Judge
